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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA             :     No. 3:CR-22-061-01
                                     :
       v.                            :     (Judge Mariani)
                                     :
DAVON ANTHONY BECKFORD, :                  (Electronically Filed)
a/k/a “Dolo,” a/k/a “Jaquan Wilson,” :
               Defendant.            :


           GOVERNMENT’S MEMORANDUM IN OPPOSITION
             TO DEFENDANT’S OBJECTIONS TO THE PSR




                                     Respectfully submitted by:
                                     GERARD M. KARAM
                                     United States Attorney


                                     /s/ Michelle Olshefski
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                                     Assistant United States Attorney
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I.    Background

      On March 1, 2023, Davon Beckford appeared before the Court and

pleaded guilty to Count 2 of the Indictment, which charges him with the

unlawful distribution of controlled substances resulting in death, in violation

of 21 U.S.C. § 841(a)(1), § 841(b)(1)(C). (Doc. 1). Beckford entered his guilty

plea pursuant to the terms of a written plea agreement. (Doc. 77). The

factual basis for Beckford’s plea of guilty included his admission that on or

about February 12, 2021, he knowingly, intentionally and unlawfully

distributed a mixture and substance containing a detectable amount of

fluorofentanyl, a Schedule I controlled substance analogue as defined in 21

U.S.C. § 802(32), with intent for human consumption as provided in 21

U.S.C. § 813, and death and serious bodily injury of a person resulted from

the use of such substance. Beckford admitted that as a result of his drug

trafficking enterprise headquartered in Arizona, from which he distributed

controlled substances to multiple subordinate drug dealers located within the

Middle District of Pennsylvania and elsewhere, Michaelena Kowalczyk died.

      Beckford specifically admitted that on or about February 12, 2021, he

utilized the U.S. Postal Service to mail a quantity of fluorofentanyl pills

obtained in Arizona to a local drug dealer, Akee Miller, a/k/a “Mitch,” for

further distribution within the Middle District of Pennsylvania. Beckford

admitted that Kowalczyk died as a result of ingesting one of the pills sold by

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him to Akee Miller. Beckford admitted that but for his unlawful drug

distribution on or about February 12, 2021, Michaelena Kowalczyk would not

have died.

      The overall criminal network organized and overseen by Beckford must

be described in order for the full import of Beckford’s relevant conduct to be

understood and appreciated. 1

      Michaelena Kowalczyk’s death involved the ingestion of just one

fluorofentanyl pill sold to her by Akee Miller on February 17, 2021.

Toxicology at autopsy evidenced a fluorofentanyl death. Three (3) pills taken

from the scene of the death were laboratory tested and determined to be

fluorofentanyl, a fentanyl analogue and a Schedule I controlled substance.



      1    Section 1B1.3 of the guidelines sets forth the rules governing
relevant conduct. That section provides, as pertinent here, that relevant
conduct includes:
      (1) (A) all acts and omissions committed, aided, abetted, counseled,
      commanded, induced, procured, or willfully caused by the defendant;
      and
      (B) in the case of a jointly undertaken criminal activity (a criminal
      plan, scheme, endeavor, or enterprise undertaken by the defendant in
      concert with others, whether or not charged as a conspiracy), all acts
      and omissions of others that were—
      (i) within the scope of the jointly undertaken criminal activity,
      (ii) in furtherance of that criminal activity, and
      (iii) reasonably foreseeable in connection with that criminal activity;

that occurred during the commission of the offense of conviction, in
preparation for that offense, or in the course of attempting to avoid detection
or responsibility for that offense; U.S.S.G. § 1B1.3(a)(1)(A), (B).

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Akee Miller pleaded guilty to his role in the drug distribution that resulted in

the death of Kowalczyk and awaits sentencing. 2

      As law enforcement’s investigation continued beyond the apprehension

of Akee Miller, it was learned that Miller was but one of Beckford’s many

drug subordinates located in the Middle District of Pennsylvania. It was

learned that after completing a sentence for a federal supervised release

violation on November 30, 2019, Beckford and co-conspirator, Tyla Griffin,

relocated to Arizona. 3 There, at least initially, Griffin assisted Beckford in

obtaining large quantities of fentanyl pills for further distribution to known

drug subordinates who continued to reside in Pennsylvania and elsewhere.

From approximately January 2020 through January 2021, Beckford and

Griffin lived and worked together in Arizona to distribute fentanyl pills.

Sometime in January 2021, Beckford and Griffin separated from each other,

but each continued to distribute fentanyl pills from Arizona via the U.S.




      2  On June 7, 2021, Akee Miller appeared before the Court and pleaded
guilty to a one-count criminal information charging him with a violation of 21
U.S.C. § 841(a)(1), § 841(b)(1)(C), and 18 U.S.C. §2. (3:CR-21-150, Doc. 2).
Miller is scheduled to be sentenced on April 16, 2024.
      3  Beckford was released from federal custody and his federal case was
closed on November 30, 2019. See 3:CR-16-127-05, PSR ¶ 43. Tyla Griffin
appeared before the Court on February 28, 2023 and pleaded guilty to Count
1 of the Indictment, a violation of 21 U.S.C. § 846, Conspiracy to Possess and
Distribute a Controlled Substance (fentanyl). (Doc. 65). She awaits
sentencing.
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Postal Service to Pennsylvania and elsewhere. Prior to the separation, Akee

Miller obtained quantities of fentanyl pills from both Beckford and Griffin.

      When Miller ordered up the pills from Beckford that caused the death

of Kowalczyk in February 2021, he did what he had been doing for some time.

When Miller needed to resupply the pills, he would contact Beckford on

Facetime or on Telegram (social media apps). After Miller placed his order,

he would electronically transmit cash to Beckford. At times, one of Beckford’s

associates located in the Middle District of Pennsylvania, most often Kasey

Sanchez, would contact Miller to pick up Miller's money and electronically

transmit the cash to Beckford on Miller’s behalf. 4 Only after the money was

electronically transmitted to Beckford and confirmed to be in one of his

accounts would Beckford package up the pills and send the “order” via the

U.S. Postal Service. From time to time, the “order” would be sent to one of

Beckford’s associates residing in Pennsylvania, who would then deliver the

order to Miller. Sometimes Beckford would send the order to an abandoned

house somewhere in Wilkes-Barre and Miller would have to wait and secure


      4 Beckford utilized coconspirators from time to time to electronically
transmit cash in his/her name via Cash App or Zelle to him in Arizona on
behalf of Beckford’s other coconspirators in Pennsylvania. The transmission
of so much cash caused issues for Beckford because both Cash App and Zelle
had limiting thresholds regarding the transmission of cash within a
particular time period. To get around the thresholds, Beckford recruited
accomplices to assist with the transmission of cash. Beckford’s other
coconspirators found different ways around the thresholds.
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the package. Beckford typically disguised the pills within children’s art

supplies inside the postal envelope. Miller became part of the

Beckford/Griffin conspiracy in the late Spring of 2020 when Beckford

recruited him by fronting him approximately 20 pills to sell. Thereafter,

Beckford typically charged Miller $5 per pill and Miller sold the pills

individually for $30 per pill, or at a discount if multiple pills were purchased.

It has been reported that on a few occasions when Miller complained to

Beckford about the quality of the pills, Beckford stated that his “people” in

Pennsylvania like the pills, causing Miller to believe that Beckford was

distributing pills to others in Pennsylvania from Arizona in similar fashion.

      Regarding the pills Miller obtained from Beckford and later sold to

Kowalczyk resulting in her death, Miller received that delivery from Beckford

approximately one week prior to the death. Facebook communications,

electronic cash transmittals, and cooperating witness testimony prove that

Miller purchased pills from Beckford via Kasey Sanchez which were delivered

to Sanchez on February 12, 2021. After Sanchez transferred the package to

Miller, Kowalczyk made her purchase from Miller in the evening of February

17, 2021 and was found deceased on February 18, 2021. Miller typically

purchased several hundred pills per order.

      Beckford utilized more than one associate in Pennsylvania to transmit

cash to him from his many subordinate dealers, and/or receive packages from

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Beckford to be turned over to his subordinate dealers. Kasey Sanchez was

one of Beckford’s subordinates who electronically transmitted cash to

Beckford on behalf of subordinate dealers and also received packages sent

from Arizona by Beckford to her Pennsylvania address to be turned over to

the Pennsylvania dealers. 5 In exchange for doing this, Beckford paid

Sanchez cash and also provided her with pills.

      Mercedes Smith is another of Beckford’s coconspirators. During the

course of the conspiracy and at the direction of Beckford, Smith electronically

transmitted approximately $130,000 to Beckford in Arizona on behalf of

Beckford’s Pennsylvania drug dealers. 6

      As the investigation continued, law enforcement learned from a

confidential source of information that Beckford was scheduled to fly from

Arizona to Pennsylvania on February 6, 2022. The source reported that




      5  Kasey Sanchez appeared before the Court on June 13, 2023 and
pleaded guilty to Count 1 of the Indictment, a violation of 21 U.S.C. § 846,
Conspiracy to Possess and Distribute a Controlled Substance (fentanyl).
(Doc. 66). She awaits sentencing.

      6 On September 20, 2023, Mercedes Smith pleaded guilty to her role in
the conspiracy involving a violation of 21 U.S.C. § 846, Conspiracy to Possess
and Distribute a Controlled Substance (fentanyl). (3-CR-23-26-08, Doc. 267).
She awaits sentencing before U.S. District Judge Malachy E. Mannion.

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Beckford was bringing 1,000 fentanyl pills with him for sale to a Wilkes-

Barre subordinate. 7

      Law enforcement later confirmed that Beckford had arrived in Wilkes-

Barre as planned and was scheduled to return to Arizona on February 9,

2022 from the Wilkes-Barre/Scranton Airport. Surveillance units observed

Beckford enter the airport and check in at the American Airlines counter.

Beckford then proceeded through TSA security and was approached by

investigators after being cleared by TSA. Investigators escorted Beckford to

an office away from other passengers and placed him under arrest.

Investigators conducted a search of Beckford’s person and secured his Apple

I-Phone, a fanny pack which contained a large amount of U.S. Currency

($9,140 cash), and Beckford’s Arizona driver’s license. Only after conducting

a full forensic analysis of Beckford’s cellular device was the full scope of his

criminal enterprise discovered. Beckford’s cellular device was replete with

the identities of drug subordinates to whom Beckford had been supplying

large quantities of fentanyl pills on a regular basis. Beckford’s cellular device

contained thousands of text communications between him and more than a




      7 Law enforcement later confirmed that Beckford indeed traveled from
Arizona to Pennsylvania with approximately 1,000 fentanyl pills and sold
most or all of those fentanyl pills to another drug subordinate and
coconspirator, Rahmel Wigfall, a/k/a “Inf,” located in Wilkes-Barre.

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dozen Pennsylvania drug dealers. Beckford’s cellular device contained

hundreds of images of U.S. Postal tracking receipts confirming that upon

receipt of cash electronically transmitted to him, Beckford packaged up large

quantities of fentanyl pills and mailed the pills to drug dealers in

Pennsylvania. Law enforcement was able to determine that the more pills

purchased in a single order, the better the price Beckford charged per pill.

Tens of thousands of pages of financial documents obtained by law

enforcement also confirmed the extremely lucrative and large scale drug

distribution enterprise managed and directed by Beckford. In fact, evidence

seized in relation to Beckford’s arrest resulted in another 15-defendant

indictment docketed at 3:23-CR-26. 8 Indeed, Beckford’s cellular device was

his “office” from which he managed his criminal enterprise.

      To his credit, Beckford accepted responsibility for his crimes and

pleaded guilty as stated above. Following entry of his guilty plea, a

presentence report was prepared. That report concludes that Beckford’s base

offense level is 43, pursuant to U.S.S.G. §2D1.1(a)(1). 9 Beckford has filed


      8Case 3:23-CR-26 is assigned to U.S. District Judge Malachy E.
Mannion.

      9    The First Step Act amended four of the six penalty provisions
referenced in §2D1.1(a)(1) and, for those amended provisions, the term
“similar offense” is over-inclusive, because it includes drug offenses that do
not meet the definition of “serious drug felony,” and under-inclusive, because
it fails to account for a prior “serious violent felony.” The amendment divides
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objections to the PSR, which include an objection to this base offense level.

Because the Government has agreed not to seek a mandatory life sentence for

Beckford, the Government agreed to withdraw a previously filed Information

of Prior Convictions pursuant to 21 U.S.C. Section 851 prior to sentencing.

Beckford now argues that a withdrawal of the Section 851 Information

reduces the base offense level to 38. Beckford also argues that the four-level

enhancement for his role in the offense should not be applied, and that his

prior New York felony conviction for armed robbery of the first degree should

not qualify as a felony conviction much less a crime of violence for career

offender purposes.

      For all of the reasons stated below, Beckford’s objections should be

overruled. His objections are contrary to law and the facts of this case.




§2D1.1(a)(1) into two subparagraphs, (A) and (B). Subparagraph (A), which
references the four statutory provisions amended by the First Step Act,
replaces the term “similar offense” with “serious drug felony or serious
violent felony.” Subparagraph (B), which references the two provisions that
were not amended, replaces the term “similar offense” with “felony drug
offense.” The amendment also amends §2D1.1(a)(3), by replacing the term
“similar offense” with “felony drug offense,” for consistency with the
terminology used in §2D1.1(a)(1). The effective date of this amendment is
November 1, 2023.

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II.    Argument

       Notably, the PSR correctly concludes that the defendant is a career

offender pursuant to U.S.S.G. §4B1.1(b) based on one prior felony drug

offense conviction and one prior conviction for a crime of violence, detailed in

paragraphs 42, 44, thereby exposing the defendant to greater punishment

under the guidelines. PSR §45. Beckford’s criminal history category is

properly calculated at VI. The PSR correctly concludes that his guideline

sentencing range is life, after acceptance of responsibility. PSR ¶64. This

range is correctly premised on Beckford’s status as a career offender, a base

offense level of 43, as well as the applicable enhancements.

       A. The PSR Reports the Correct Base Offense Level of 43.

       In support of his objection to the base offense level, Beckford argues

with no support that, “USSG §2D1.1(a)(1) is essentially the Sentencing

Commission’s identical counterpart to an increased punishment stated in 21

U.S.C. §841.” (Doc. 150 at 3). There is absolutely no support for this claim,

nor does Beckford offer any. In fact, the sole case cited by Beckford, United

States v. Banks, 770 F.3d 346, 350 (5th Cir. 2014), actually supports the

Government’s position. The defendant in Banks argued that his plea

agreement precluded him from being sentenced as a career offender under

the Guidelines. In Banks, the Government promised in the defendant’s plea

agreement that it would “not pursue a sentence enhancement under Title 21,

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United States Code, Section 851.” Banks, 770 F.3d at 350. Banks apparently

understood that promise to mean that he would not be sentenced as a career

offender under § 4B1.1 of the Guidelines. The Court, however, stated and

held that,

      “But section 851 has nothing to do with § 4B1.1 of the Sentencing
      Guidelines. Rather, it lays out the procedure for proving prior
      convictions that can be used to trigger the statutory sentencing
      enhancements available under 21 U.S.C. § 841(b((1)(A). United
      States v. Marshall, 910 F.2d 1241, 1244–45 (5th Cir.1990);
      United States v. Aguilar–Pereira, No. 00–20893, 2001 WL
      1075898, at *1 (5th Cir. Aug. 23, 2001) (unpublished). These
      statutory sentencing enhancements triggered by prior convictions
      are substantial, and, given that Banks had prior cocaine
      convictions (according to the Presentence Investigation Report),
      the Government's waiver of these provisions was certainly of
      some value to Banks. See 21 U.S.C. § 841(b)(1)(A)(viii) (“If any
      person commits such a violation after a prior conviction for a
      felony drug offense has become final, such person shall be
      sentenced to a term of imprisonment which may not be less than
      20 years and not more than life imprisonment....”). As such,
      Banks's plea agreement does not foreclose application of § 4B1.1,
      but speaks only to the statutory sentencing enhancements under
      section 851.

Id. at 350 (emphasis added). The reasoning of the Court in Banks is

consistent with and equally applicable in this case as argued by the

Government in that an Information of Prior Convictions pursuant to § 851

has no applicability to the Guidelines. Thus, Beckford’s reliance on Banks is

misplaced.

      It is the Government’s position that the appropriate base offense level

to be applied to Beckford’s offense of conviction is 43. The Government’s

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position is based on Beckford’s admissions of guilt and his prior similar felony

drug offense. Despite the November 1, 2023 amendments to §2D1.1(a) as

noted in fn 1, Beckford’s criminal history and offense of conviction still

correctly place him at a base offense level of 43.

      The filing of a section 851 Information serves only as notice to the

defendant under the statutory structure of Title 21 that the Government

intends to increase the statutory penalties associated with the defendant’s

crimes and has no applicability to the guidelines when no statutory penalties

are increased, nor has any authority been identified in support of a Section

851 notice requirement pursuant to §2D1.1(a)(1)’s guideline base offense

levels. The Government is unaware of any such authority. Here, the

withdrawal of a section 851 Information serves only to remove the mandatory

sentence of life for Beckford’s crimes. 10 Application of the appropriate base

offense level in this case does not impact the mandatory minimum or

maximum statutory penalty for the crime to which Beckford plead guilty. As

such, the statutory penalties are not increased by application of the

appropriate base offense level. Moreover, a section 851 Information plays no




      10  It is noted that the defendant does not dispute the fact that he has
been previously convicted of a felony drug offense that permits the
Government to lawfully seek a mandatory life sentence with the filing of an
Information of Prior Convictions Involving Controlled Substances pursuant to
21 U.S.C. § 851.
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role in establishing “a similar offense,” or now a similar “felony drug offense,”

under the sentencing guideline §2D1.1(a)(1).

      By way of example, a section 851 Information is not required in order to

implicate a defendant’s career offender designation under the guidelines

pursuant to U.S.S.G. §4B1.1, which is a designation that subjects a defendant

to greater punishment under the guidelines. Indeed, a career offender

designation subjects a defendant to an increased guidelines score with no

requirement for filing of a section 851 Information. Beckford has been

properly designated a career offender in this case without the filing of a

section 851 Information. PSR ¶45. If in fact a section 851 Information is

filed in a career offender situation, it would serve as notice that the

maximum statutory penalty could increase, but there is no requirement for a

section 851 Information to be filed for a career offender designation. Nor does

a section 851 Information have to be included in a plea agreement or in a

charging document. That is simply not the law.

      Therefore, Beckford’s assertion that withdrawal of a section 851

Information automatically reduces the base offense level to 38 in this case is

misplaced and legally incorrect. The same is true regarding any claim that in

order for application of §2D1.1(a)(1)’s base offense level of 43, Beckford’s prior

felony drug conviction must have been included in the plea agreement or

charging document. That is simply not the law.

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      The law requires that for application of a base offense of 43 pursuant to

§2D1.1(a)(1)(B), the defendant must have committed the instant offense of

conviction (here, drug distribution resulting in death) after one or more prior

convictions for a similar offense (now felony drug offense). That is all the law

requires. Beckford has the one required prior felony drug offense as set forth

in the PSR at ¶ 44 which correctly places him at a base offense level of 43.

See §2D1.1(a)(1)(B). Beckford does not and cannot dispute the fact of the

required prior felony drug offense. To the extent Beckford claims that any

prior felony drug offense must exactly match the offense of conviction, i.e.

resulting in death, he is wrong. Any such claim has been consistently

rejected by federal courts, including this Court. 11

      This argument was rejected by the Sixth Circuit in United States v.

Johnson which held that "the term 'similar offense' is synonymous with the

term "felony drug offense" for purposes of interpreting U.S.S.G. §2D1.1(a)(1)".

706 F.3d 728,733 (6th Cir. 2013). The Sixth Circuit reasoned:

      Notably, although USSG § 2D1.1(a)(1) uses the term "similar
      drug offense" and 21 U.S.C. § 841(b)(1)(C) uses the term "felony
      drug offense," the guideline and statute mirror one another in
      several respects. The statute provides that a defendant will be
      subject to a maximum statutory sentence of thirty years if the

      11 See, e.g. United States v. Zayas, MDPA 3:cr-16-222 (BOL = 43
similar offense(s) did not involve prior death); United States v. Jackson
MDPA 3:cr-20-291 (BOL = 43 similar offense(s) did not involve prior death);
United States v. Rosario, MDPA 3:-cr-21-206 (BOL=43 similar offense(s) did
not involve prior death).
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      instant controlled substance offense was committed "after a prior
      conviction for a felony drug offense has become final." 21 U.S.C. §
      841(b)(1)(C). However, "if death or serious bodily injury results
      from the use of such substance," the defendant will face a
      sentence of life imprisonment. Id. Thus, both the guideline
      provision and the statute contemplate sentencing a defendant to
      a term of life imprisonment if he has committed a controlled
      substance offense that resulted in death or serious bodily injury
      and has a prior conviction. In fact, USSG § 2D1.1(a)(1) merely
      reinforces the enhanced penalty mandated by statute. Taking
      into account the plain language of both the guideline provision
      and the statute, we conclude that the Sentencing Commission
      intended the term "similar offense" to be synonymous with the
      term "felony drug offense."

Id. at 731 (emphasis added).

      The Government also notes that in Johnson, the Court rejected the

defendant’s claim that the Government needed to file a section 851

Information for a base offense level of 43. 706 F.3d at 732. The Court stated:

      Section 851 ensures that defendants are provided certain
      procedural safeguards before receiving a mandatory sentence
      enhancement on the basis of a prior conviction. Once those
      requirements have been satisfied, those defendants are subject to
      an enhanced sentence. Johnson offers no authority to the
      contrary. Here, the only reason Johnson was not subject to the
      statutory mandatory minimum sentence was because the
      Government did not file an information pursuant to § 851, in
      accordance with the terms of Johnson's plea agreement.
      Notwithstanding the terms of Johnson's plea agreement, the
      district court was still permitted to take into account Johnson's
      prior felony drug conviction when determining whether to apply
      USSG § 2D1.1(a)(1).

Id. (emphasis added).




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      Similarly, the Fourth Circuit explained in United States v. Fisher that:

      The Guidelines do not require that the offenses involve identical
      controlled substances, but only that the offenses be similar. See
      USSG § 2D1.1(a)(1) ("defendant committed the offense after one
      or more prior convictions for a similar offense"). Next, the
      offenses are similar in that the intent in both involved
      distribution of controlled substances. See United States v.
      Johnson, 706 F.3d 728, 733 (6th Cir. 2013) (similar offense is
      synonymous with "felony drug offense"); United States v. Westry,
      524 F.3d 1198 (11th Cir. 2008) (conviction for possession of
      pentazocine similar offense to conspiracy to possess with intent to
      distribute several types of controlled substances). Finally, Fisher
      alleges that the marijuana conviction did not involve death. The
      fact that the prior conviction did not involve serious bodily injury
      or death is irrelevant because 21 U.S.C. § 841(a) (2012)
      prescribes the unlawful act and 21 U.S.C. § 841(b)(1)(C) (2012)
      only prescribes the penalty, which takes into consideration
      whether serious bodily injury or death resulted from the unlawful
      act. We therefore conclude that the court did not err in applying
      the enhancement in USSG § 2D1 .1 (a)(1 ).

683 Fed. App’x 214, 215 (4th Cir. 2017). 12


      12  Similar to Johnson, no section 851 Information was filed in Fisher.
683 Fed. App’x 214 (2017). See also, United States v. Sica, 676 Fed. App’x 81
(2017), no plain error in applying sentencing guideline imposing base offense
level of 43 for defendant on ground that he had prior convictions for similar
offense, even though he did not plead to the substantive prior-felony death-
results crime and no §851 Information filed; United States v. Stevens, 2022
WL 1297091 (E.D. Kentucky, 2022) (Federal Probation Officer responded in
addendum to PSR that defendant’s prior 2000 conviction for first degree
possession of a controlled substance (crack cocaine), a class D felony under
Kentucky law, qualified as a “similar offense” for purposes of §2D1.1(a)(1).
The Court agreed that Johnson was “on point” because “similar offense” is
synonymous with “felony drug offense” and defendant had prior drug offense
and no §851 Information filed; United States v. Carrington, 2023 WL
1990529 (E.D. VA 2023) (defendant’s base offense level properly calculated at
43 even though Virginia offense not precise match, it is nonetheless “similar”
to the federal statute and no §851 Information filed.
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      Johnson’s primary holding is that “the term ‘similar offense’ is

synonymous with the term ‘felony drug offense’” as used in 21 U.S.C.

§841(b)(1)(C). Johnson, 706 F3d at 733. As detailed in fn 1 above, the

Guidelines Amendment, effective November 1, 2023, amended §2D1.1(a)(1)

by replacing the term “similar offense” with “felony drug offense,” in

Subparagraph (B) of §2D1.1(a)(1).

      Beckford has at least one prior felony drug offense and only one is

necessary to place him at a base offense level of 43.

      Beckford was previously convicted on or about May 13, 2019 in Luzerne

County Court of Common Pleas of Possession With Intent to Deliver

Controlled Substances (heroin and crack), in violation of 35 § 780-113 §§A30,

which is a felony drug offense. (Case No. CR-1394-2018). At the time he

committed that drug trafficking offense, he was still on federal supervision

for a previous federal drug trafficking crime. (Case No. 3:CR-16-127). The

Luzerne County felony drug conviction resulted in a revocation of supervised

release and Beckford was resentenced to an additional term of 6 months

imprisonment. PSR ¶ 43. It is upon completion of this supervised release

violation that Beckford relocated to Arizona where he continued in his drug

trafficking business - but on a larger scale. Beckford’s Luzerne County 2019




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felony drug conviction carries a statutory maximum greater than 1 year

imprisonment in Pennsylvania and qualifies as felony drug offense. See 35

P.S. Sec. 780-113(f)(1).

      For purposes of the U.S.S.G., “felony drug offense” has the meaning

given that term in 21 U.S.C. §802.

“Felony drug offense” means:
      an offense that is punishable by imprisonment for more than one
      year under any law of the United States or of a State or Foreign
      county that prohibits or restricts conduct relating to narcotic
      drugs, marijuana, anabolic steroids, or depressant or stimulant
      substances.

21 U.S.C. § 802(44) (emphasis added).

      There is no doubt that Beckford’s prior Luzerne County felony drug

offense involving possession with intent to distribute heroin and crack

cocaine qualifies as a “felony drug offense” and only one is necessary for

proper application of U.S.S.G. §2D1.1(a)(1). Beckford’s prior felony drug

offense is punishable by more than a year “under any law of the United

States” and the Pennsylvania statutes prohibit “conduct relating to narcotic

drugs, marijuana, ……” See 21 U.S.C. § 802(44).

      For all of the above stated reasons, Beckford’s base offense level is

properly calculated at 43 and the PSR accurately reflects the same. PSR ¶40.




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      B. Beckford Was an Organizer or Leader of Criminal Activity
         Involving Five or More Participants or was Otherwise Extensive

      Beckford objects to the application of the 4-level enhancement pursuant

to U.S.S.G. § 3B1.1(a). In support of his objection, Beckford has applied an

incorrect interpretation of the leadership enhancement. He claims that by

his counting, even giving the benefit of the doubt to the Government, his

leadership was limited to only 4 participants. (Doc. 150, p. 5-6). Beckford is

wrong in his understanding of this sentencing enhancement. Beckford’s

narrow view of his criminal enterprise must also be rejected.

      The commentary to § 3B1.1 does not define “organizer or leader” but

lists factors for sentencing courts to consider in determining whether a

defendant qualifies as such. Those factors include the exercise of decision-

making authority, the nature of participation in the commission of the

offense, the recruitment of accomplices, the claimed right to a larger share of

the fruits of the crime, the degree of participation in planning or organizing

the offense, the nature and scope of the illegal activity, and the degree of

control and authority exercised over others. Id. cmt. n.4. “We have explained

that to be considered an organizer or leader, the defendant must have

exercised some degree of control over others in the commission of the offense.”

United States v. Helbling, 209 F.3d 226, 243 (3d Cir. 2000) (internal

quotation marks and citation omitted).


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      The Government's burden to establish organizer or leadership is not

onerous. The enhancement applies any time a defendant exercises “some

degree of control over others involved in the offense.” United States v.

Chau, 293 F.3d 96, 103 (3d Cir. 2002). The defendant does not have to

control all of the participants but only one of them. United States v.

Bethancourt, 65 F.3d 1074, 1081 (3d Cir. 1995); see also United States v.

Cruz Camacho, 137 F.3d 1220, 1224 (10th Cir. 1998) (The enhancement

requires proof that five persons participated in the criminal venture and that

the defendant exercised leadership control over at least one person). Thus,

the prerequisites for the enhancement are multiple participants in the

criminal activity and some differentiation in the participants' relative

culpability, with the more culpable participants receiving the

enhancement. United States v. Katora, 981 F.2d 1398, 1405 (3d Cir. 1992).

Both of these elements are present here. Notably, § 3B1.1(a) does not require

proof that Beckford controlled five or more participants, although he did.

Beckford’s criminal enterprise involved more than five participants. Indeed,

it involved dozens. The participants included himself, Akee Miller, a/k/a

“Mitch,” Tyla Griffin, Kasey Sanchez, Mercedes Smith, Samantha Smart,

Rahmel Wigfall, a/k/a “Inf,” Shayna Colon Acosta, Giovanna Twyman, Kevin

Jones, a/k/a “Hat,” Howard Bell, a/k/a “Nitty,” Sabrina Cleveland, Maurice

Faulkner, a/k/a “Moe,” and James Artis-Bryant, a/k/a “Church.” All of these

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participants were subordinate drug dealers for whom Beckford provided

fentanyl pills for further distribution/sale to the end user, or acted on behalf

of Beckford to electronically transmit cash to Beckford in Arizona on behalf of

other participants, or received packages at their respective addresses on

behalf of Beckford to be retrieved by other drug subordinates.

      Beckford cannot dispute and seemingly admits that prior to their

separation in early 2021, Tyla Griffin was a participant in his criminal

enterprise.

      Beckford cannot dispute and seemingly admits that Kasey Sanchez,

Akee Miller, and Mercedes Smith were all participants in his criminal

enterprise. The Government counts five, just in his admissions.

      However, Beckford leads the Court to believe that his criminal

enterprise ends with these participants. In fact, Beckford’s cellular device,

i.e. his “office,” contained evidence of dozens of other participants who

obtained fentanyl pills from Beckford’s Arizona operation. 13 When confronted

with this evidence, Beckford did not deny the extensive nature of his criminal

activity or the number of participants involved. The same evidence cannot

be disputed now. Moreover, it was Beckford who controlled the price per pill.




      13 All of the participants identified by the Government have been
criminally charged in the Middle District of Pennsylvania for their role in
Beckford’s criminal enterprise.
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He set the price according to the quantity of pills purchased by the

participant. It was Beckford who recruited accomplices to assist him in his

criminal conduct. Beckford enjoyed the larger share of the fruits from the

criminal enterprise. Indeed, Beckford admittedly enjoyed upwards of $40,000

flowing through his various bank accounts each month. Beckford controlled

the manner of delivery and the timing of the deliveries via the U.S. Postal

Service. Beckford set the protocol for the enterprise – confirmation of cash

transmittal first and then mailing of the drugs.

      Beckford utilized a variety of user names for purposes of the money

service applications, including “Gimme Mines,” “Justin Case,” and “Game

Changer.” For Zelle electronic cash transmissions, Beckford used the name,

“MillionaireMindsetEnt.” By way of example, the Government provides some

snippets of Beckford’s drug enterprise. All of the below electronic cash

transmittal activity represents cash payments from Beckford’s subordinates

for hundreds and/or thousands of fentanyl pills: 14




      14 From time to time, Beckford’s subordinates attempted to disguise
the purpose of the cash transmissions by falsely identifying the purpose as
rent, car payment, food service, etc.
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                   Maurice Faulkner a/k/a “Moe”




                   Rahmel Wigfall a/k/a “Inf”




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                   Rahmel Wigfall a/k/a “Inf”




                           Giavanna Twyman




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                          Giavanna Twyman




                         Kevin Jones a/k/a “Hat”




                                   25
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                         Sabrina Cleveland
      (address in MA associated with Kevin Jones a/k/a “Hat”




                         Samantha Smart




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                              Samantha Smart




                        Howard Bell a/k/a “Nitty”




     All of the above and more were participants in Beckford’s extensive

criminal enterprise. (See MDPA 3:CR-23-26). He cannot credibly dispute the

same. Beckford is the poster child for the 4-level enhancement pursuant to §

3B1.1.
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      C.    Beckford’s Prior New York Violent Felony Conviction for Armed
            Robbery of the First Degree Qualifies as a Crime of Violence for
            Career Offender Purposes

      On October 21, 2011, Beckford and another male robbed a man as the

victim walked home from a train station in New York City. The victim

reported to New York City police officers that a black male displayed a black

firearm and said, “You already know what’s the deal.” A second black male

walked up from behind the victim and displayed a knife. Both males

proceeded to rob the victim of his computer, money, wallet, headphones, and

then fled the scene. Both males were quickly apprehended by law

enforcement. Court records indicate that it was Beckford who possessed the

firearm during the robbery. (See Attachment A, p. 29, 33 – filed under seal)

Beckford was prosecuted as an adult in Queens County in the Supreme Court

of New York. An indictment was returned against him on November 10,

2011, which charged him with multiple felony offenses including first degree

robbery and criminal possession of a weapon. Beckford pleaded guilty to

“Robbery by Force with a Deadly Weapon, a New York Class B Felony

punishable by a term of imprisonment exceeding one year. 15 Id.


      15   It is not a matter of dispute that the New York crime of robbery in
the 1st degree is punishable by imprisonment for more than a year. It is
classified as a “Class B Felony” carrying a potential prison sentence of 25
years. See N.Y. Penal Law, §§ 160.15 and 70.00. It also cannot be disputed
that Beckford’s robbery conviction was classified as an adult conviction under
the laws of New York even though he was 17 years old when arrested and 18
                                      28
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        During a presentence interview for that crime, Beckford reported that

he was reared by his parents and that he enjoyed a good childhood. He

reported positive relationships with family members. He reported no

psychological problems. Although he committed this violent crime at the age

of 17, Beckford was 18 years old at the time of sentencing. Court records

indicate that this 1st degree armed robbery was not his first arrest in New

York.    The New York City Department of Probation recommended that

Beckford be designated a youthful offender, although the reasoning for the

same is not entirely clear. Notably, the same New York City Department of

Probation advised the court that “jail is strongly recommended,” and that

Beckford’s, “violent, aggressive actions towards the victim placed him in




when convicted. Under New York law, only those defendants under the age
of 16 are potentially relieved of adult criminal liability and entitled to have
their proceedings handled by the New York family courts. See N.Y. Penal
Law, § 30.00; N.Y. Crim. Proc. Law, § 180.75; N.Y. Fam. Ct. §301.2. Under
the above statutory scheme, since Beckford was 17 at the time of the robbery
in question, he entered the New York penal system as an adult (in the
Queens County, NY Supreme Court) and was convicted as such. Under New
York law, convicted offenders aged sixteen through eighteen who meet
certain criteria may receive a youthful offender adjudication and certain
benefits that go along with it, including the vacation of their underlying
conviction. See N.Y. Crim. Proc. Law, § 720.10. In order to qualify as a
“youthful offender,” however, there must first exist that underlying adult
conviction. See N.Y. Crim. Proc. Law, §720.10, and United States v. Jones,
415 F.3d 256, 264 (2d Cir. 2005) (“Under New York law, a conviction is a
prerequisite to a youthful offender adjudication.”)



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grave danger.” The Probation Officer continued on to state, “The defendant

committed this offense without regard to the victim’s safety or the possible

legal consequences. He is a threat to the safety of others. Consequently for

the protection of the community a term of incarceration is recommended. An

order of protection should remain in effect.” (See Attachment A, p. 37 – filed

under seal).

      On April 15, 2013, Beckford was sentenced in the Supreme Court of

New York to a five year term of probation. (See Attachment A, p. 30 – filed

under seal). Beckford did not successfully complete the term of probation. It

was revoked on April 28, 2016 when he committed the federal drug

trafficking crime docketed at 3:CR-16-127. 16 PSR ¶43.

      Beckford now disputes the fact that his previous conviction for first

degree armed robbery qualifies as a “conviction” at all, much less a crime of

violence for career offender purposes. (Doc. 150, p. 7). Beckford argues that

it is not a conviction because he was ultimately afforded youthful offender

status. Beckford offers no credible support for his claim because it is




      16 Notably, in Beckford’s PSR prepared in connection with his 2016
federal drug trafficking crime, his prior conviction for Armed Robbery of the
First Degree was awarded 3 criminal history points and treated as the felony
violent crime conviction it continues to be. (3:CR-16-127, Doc. 113, ¶27).
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unsupportable. In fact, his first degree armed robbery qualifies as both a

felony conviction and a conviction for a crime of violence. 17

      It is initially noted that the Second Circuit itself has already decided

this issue. The Second circuit has held that a district court may consider

youthful offender adjudications when calculating a defendant's criminal

history category under U.S.S.G. § 4A1.1. See United States v. Driskell, 277

F.3d 150, 154 (2d Cir. 2001) (defendant's prior state conviction of attempted

murder in the second degree could be considered by court in calculating

sentence for defendant's crime of possession of a firearm by a convicted felon,

even though the prior crime was committed when defendant was 17 and

even though defendant was subsequently adjudicated a youthful offender

under New York State law); United States v. Reinoso, 350 F.3d 51, 54 (2d

Cir.2003) (defendant's prior state conviction for armed robbery could be

considered in calculating his offense level for illegal reentry conviction as

subsequent youthful offender adjudication did not expunge the conviction or

otherwise absolve defendant of criminal responsibility for the robbery); and




      17  The Career Offender Guidelines require a defendant to have two or
more qualifying “convictions” for crimes of violence or controlled substance
offenses. U.S.S.G. § 4B1.1(a). Per the application notes, a “conviction”
includes an offense committed prior to the age of eighteen….if it is classified
as an adult conviction under the law of the jurisdiction in which the
defendant was convicted.” U.S.S.G. § 4B1.2, appl. Note 1.
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United States v. Cuello, 357 F.3d 162, 168-69 (2d Cir. 2004) (16-year-old’s

youthful offender adjudication under New York State law counted as a prior

adult conviction in determining base offense level under Sentencing

guidelines for weapons convictions).

      In United States v. Jones, 415 F.3d 256, 263-64 (2d Cir. 2005), the

Court applied the clear language of the career offender guidelines, U.S.S.G.

§§ 4B1.1 and 4B1.2, and the accompanying Commentary, and held that two

youthful offender adjudications for crimes committed before the defendant

turned eighteen qualified as “prior felony convictions” for purposes of the

Career Offender Guideline, because, after examining the substance of the

proceedings, they could be considered “classified” as adult convictions. Id.

      In United States v. Parnell, 524 F.3d 166, 171 (2d Cir. 2008), the

defendant was eighteen when he committed the offense that resulted in a

conviction for attempted second degree burglary, for which he was later

adjudicated as a youthful offender. The Court held that because that

conviction was punishable by up to seven years’ imprisonment, it clearly

qualified as a “prior felony conviction,” that was an “adult conviction”

“punishable by ….imprisonment for a term exceeding one year.” The Court

held that the District Court did not err when it included the youthful offender

adjudication in Parnell’s Career Offender calculation. Id. at 171.



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      In similar fashion, the Third Circuit has already decided this issue. In

cases specifically addressing the applicability of New York youthful offender

convictions under the Sentencing Guidelines, the Third Circuit affirmed the

district courts’ reliance on the New York youthful offender adjudications in

making Guideline determinations concerning the defendants’ criminal

histories. See United States v. Wright, 109 F. App’x 510, 511-512 (3d Cir.

2004) and United States v. Wallace, 663 F.3d 177, 181 (3d Cir. 2011); see

also, United States v. Allen 208 F. App’x. 189, 191 (2006) (defendant's prior

conviction for aggravated assault constituted predicate felony for purposes of

sentencing under career offender guidelines despite fact that he was under

age 18 at time of that prior conviction).

      Notably, in Wallace, the Third Circuit specifically rejected the Second

Circuit’s requirement that the defendant receive and serve a sentence

exceeding one year and one month in an adult prison. Id. at 181. The Court

noted that, pursuant to Third Circuit precedent, the length of the sentence

and the type of facility where it was served are irrelevant. Id.

In Wallace, the Court plainly noted that § 4B1.2 dictates that the career

offender inquiry examine only whether the convictions in question are adult

convictions, and not what kind of sentences resulted from those convictions.

United States v. Moorer, 383 F.3d 164, 168 (3d Cir.2004). In Moorer, the

defendant-appellant was convicted of drug offenses and classified as a career

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offender because of two prior felony convictions. Id. at 166. Moorer argued

that one of the prior convictions should not be counted because he was

sentenced as a juvenile, not as an adult. Id. at 167. The Third Circuit stated

“the Guidelines belie Moorer's premise that an adult conviction must be

accompanied by an adult sentence to count toward career offender status.” Id.

This was because the language in Note 1 of the Commentary to § 4B1.2

specifically states that a “prior felony conviction” is determined by courts

“regardless of the actual sentence imposed.” Id. “[W]here or how long the

defendant is actually sentenced is of no import.” Id. The Guidelines as of

2023 continue to belie Moorer’s premise. 18

      The Court in Wallace concluded that the four-element inquiry

advocated by the defendant in that case would similarly contradict the

Commentary to § 4B1.2. The fourth element of the inquiry requires the

defendant to have served a sentence exceeding one year and one month in an

adult prison. 19 “But as this Court held in Moorer, Note 1 of the Commentary




      18 Pursuant to §4B1.2(e)(4) and career offender purposes, “A Prior
Felony conviction” means a prior adult federal or state conviction for an
offense punishable by death or imprisonment for a term exceeding one year,
regardless of whether such offense is specifically designated as a felony and
regardless of the actual sentence imposed. U.S. Sentencing Commission
Guidelines Manual 2023.

      19 The defendant in Wallace served only a four month sentence in a
non-adult facility. Wallace 663 F.3d at 179.
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to § 4B1.2 specifically states that a “prior felony conviction” is determined by

courts “regardless of the actual sentence imposed.” Moorer, 383 F.3d at 167.”

Wallace, 663 F.3d at 181. Wallace's proposed analysis thus contravened

Third Circuit precedent, as well as the language of the Guidelines, which

remain consistent today, because the length of the sentence and the type of

facility where it is served are irrelevant. Id.

      In similar fashion, Beckford’s argument contravenes Third Circuit

precedent. He offers nothing to support a contrary conclusion. His New York

First Degree Armed Robbery conviction is properly calculated in the guideline

calculations and properly considered a “crime of violence” for career offender

purposes. 20 As stated above, Beckford was not only convicted of a crime


      20   The terms “crime of violence” and “controlled substance offense” are
defined as follows in § 4B1.2:
       (a) The term “crime of violence” means any offense under federal or
      state law, punishable by imprisonment for a term exceeding one year,
      that—
       (1) has as an element the use, attempted use, or threatened use of
      physical force against the person of another, or
       (2) is murder, voluntary manslaughter, kidnapping, aggravated
      assault, a forcible sex offense, robbery, arson, extortion, or the use or
      unlawful possession of a firearm described in 26 U.S.C. § 5845(a) or
      explosive material as defined in 18 U.S.C. § 841(c).

See, United States v. Pereira–Gomez, 903 F.3d 155 (2d Cir. 2018) (except for
attempted robbery in the second degree, all other New York robbery offenses
qualify as crimes of violence under the elements clause); United States v.
Ojeda, 951 F.3d 66, 70–72 (2d Cir. 2020) (any degree of robbery under New
York law is an ACCA violent felony); Stuckey v. United States, 878 F.3d 62
(2d Cir. 2017) (first–degree robbery in New York, N.Y. Penal Law § 160.15, is
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punishable by a term of imprisonment exceeding one year, he was convicted

of a violent crime involving a deadly weapon. The New York Probation

Department strongly recommended a sentence of imprisonment for Beckford

and noted strong concerns for the safety of the community and, in particular,

the victim of Beckford’s violent crime. (See Attachment A, p. 37 – filed under

seal).

         It is clear, therefore, pursuant to Third Circuit precedent, that

Beckford’s youthful offender conviction is properly counted under the

sentencing guidelines and properly included in the determination that

Beckford is properly designated a career offender.

III.     Conclusion

         For the above stated reasons, all of Beckford’s objections to the PSR

should be denied in their entirety.

                                        Respectfully submitted,

                                        GERARD M. KARAM
                                        United States Attorney

                                        /s/ Michelle L. Olshefski
                                        MICHELLE L. OLSHEFKI
Date: January 18, 2024                  Assistant U.S. Attorney

a violent crime under ACCA); accord Lassend v. United States, 898 F.3d 115,
128 (1st Cir. 2018); United States v. Hammond, 912 F.3d 650 (4th Cir.
2019); United States v. Sanchez, 940 F.3d 526, 531–33 (11th Cir. 2019).




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                               Word Count

     Counsel for the government hereby certifies that the word count of

this brief is 7,669 words.




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                    UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA             :         No. 3:CR-22-061-01
                                     :
       v.                            :         (Judge Mariani)
                                     :
DAVON ANTHONY BECKFORD, :                      (Electronically Filed)
a/k/a “Dolo,” a/k/a “Jaquan Wilson,” :
               Defendant.            :


                         CERTIFICATE OF SERVICE


       The undersigned hereby certifies that she is an employee in the Office

 of the United States Attorney for the Middle District of Pennsylvania and is

 a person of such age and discretion as to be competent to serve papers.

       That on January 18, 2024, she served a copy of the attached:

          GOVERNMENT’S MEMORANDUM IN OPPOSITION TO
              DEFENDANT’S OBJECTIONS TO THE PSR

 by electronic filing on the following:

 Christopher Opiel, Esquire

                                                     /s/ Michelle Olshefski
                                                     Michelle Olshefski
                                                     Assistant U.S. Attorney




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